                   Case 1:19-cv-03774-GBD-DCF Document 7 Filed 05/01/19 Page 1 of 3
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
KLS Diversified Master Fund L.P.
                              Plaintiff(s),
          -against-

Sean McDevitt,
                              Defendant(s).
--------------------------------------------------------------X
TO:       The Attorney(s) for Plaintiff(s):

      This case has been designated an electronic case and has been assigned to this Court for all
purposes. Counsel for all parties are required to promptly register as filing "USERS" in accordance with the
procedure for Electronic Case Filing.

         Counsel for all parties are hereby directed to attend a conference at the time and place fixed below, for
the purpose of Case Management and scheduling pursuant to Fed. R. Civ. P. 16. You are directed to furnish
all attorneys in this action with copies of this order and enclosures, and to furnish chambers with a copy of any
transmittal letter(s). If you are unaware of the identity of counsel for any of the parties, you must forthwith send
a copy of the notice and rules to that party personally.

         An Initial pretrial conference will be held on Tuesday, August 6, 2019 at 9:30 a.m. at the United States
District Courthouse, 500 Pearl Street, New York, New York, Courtroom 11A.

          No application for adjournment will be considered unless made at least one week prior to the date of
this initial conference.

          Enclosed is a proposed Case Management Plan and Scheduling Order, pursuant to Rules 16 and 26(f)
of the Federal Rules of Civil Procedure. Counsel for all parties are directed to confer regarding the proposed
plan and order. If the proposed schedule is agreeable to all parties, counsel shall sign and file the enclosed
plan and order with the Court seven (7) days before the date of the initial pretrial conference. If counsel agree
that a different plan and schedule is appropriate, counsel shall sign and file a different proposed plan and
schedule for the Court's consideration seven (7) days before the date of the pretrial conference. In the
absence of agreement, the Court, after hearing from counsel, will order a Case Management Plan and
schedule at the conference. Absent extraordinary circumstances, the Plan shall provide that the case be ready
for trial within six months.

        In addition to the matters covered in the Case Management Plan, counsel should also be prepared to
address at the conference the factual and legal bases for their claims or defenses, any issue as to subject
matter jurisdiction, and any other issue relevant to case management.

Dated: New York, New York
       April 30, 2019
          Case 1:19-cv-03774-GBD-DCF Document 7 Filed 05/01/19 Page 2 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
KLS Diversified Master Fund L P ,
                        Plaintiff( s)

                     -against-                                                       19cv3774(GBD)
                                                                                     CIVIL CASE MANAGEMENT
Sean McDevitt,                                                                       PLAN AND SCHEDULING ORDER
                                Defendant( s)
---------------------------------------------------------------------------------X

        After consultation with counsel for the parties, the following Case Management Plan is adopted.
This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules of civil
Procedure.

          1.         An Initial pretrial conference will be held on Tuesday, August 6, 2019 at 9:30 a.m. at the
                     United States District Courthouse, 500 Pearl Street, New York, New York, Courtroom
                     11A.

          2.         No Additional parties may be joined October 8, 2019.

          3.         No amendment to the pleadings will be permitted October 8, 2019.

          4.         Except for good cause shown, all discovery shall be commenced in time to be
                     completed by December 10, 2019. The court expects discovery to be completed within
                     90 days of the first scheduling conference unless, after the expiration of that 90 days
                     period, all counsel stipulate that additional time (not to exceed 60 more days) is needed
                     to complete discovery. In such event, discovery may be extended by the parties on
                     consent, without application to the Court, provided the parties are certain they can still
                     meet the discovery completion date ordered by the Court. The discovery completion date
                     shall not be adjourned except upon a showing of extraordinary circumstances.

          5.         Dispositive motions are to be served by January 7, 2020. Answering papers are to be
                     served within 14 days. Reply papers are to be served within seven (7) days. In the event
                     a dispositive motion is made, the date for submitting the Joint Pretrial Order shall be
                     changed from that shown herein to three (3) weeks from the decision on the motion. The
                     final pretrial conference shall be adjourned to a date four (4) weeks from the decision on
                     the motion.

          6.         A final pretrial conference will be held February 11, 2020 at 9:45 a.m.

           7.        The Joint Pretrial Order shall be filed no later than February 4, 2020. The
                     requirements for the pretrial order and other pretrial submissions shall be governed by
                     the Court's Individual Rules of Practice.
         Case 1:19-cv-03774-GBD-DCF Document 7 Filed 05/01/19 Page 3 of 3




        8.       All motions and applications shall be governed by the Court's Individual Rules of
                 Practice.

        9.       The parties shall be ready for trial within 48 hours, notice on or March 3, 2020. The
                 estimated trial time is _ _ _ _ _ days, and this is a Uury)(non-jury) trial.

         10.     A Status Conference will be held on November 5, 2019 at 9:45 a.m.

Dated: April 30, 2019
       New York, New York



                                                         SO ORDERED:




                                                                  George B. Daniels
                                                          United States District Judge


Attorney for Plaintiff(s)




Attorney for Defendant(s)




-2-
